                  UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF TENNESSEE NASHVILLE
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                                                              Case No. 3:24-cv-00440
IAN HUNTER LUCAS,                               :
                                Plaintiff,      :
                                                              District Judge

                                                              Hon. Waverly D. Crenshaw, Jr.
                       v.                       :
THE VANDERBILT UNIVERSITY,                      :             Magistrate Judge
                                                              Hon. Jeffrey S. Frensley
                                Defendant.      :
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                              CERTIFICATE OF EX PARTE FILING

I, Ian H. Lucas, hereby certify that this filing was made with the court on an ex parte basis
due to the urgent nature of the request and the immediate and irreparable harm that could
result to me if the relief sought is not granted before the Respondent can be heard. Given
the circumstances outlined in my motion for a temporary restraining order and/or
preliminary injunction, it is imperative that the Court reviews and, if deemed appropriate,
grants the requested relief without the usual notice to the opposing party. This approach is
justified by the need to prevent the imminent and substantial harm that delay in the
provision of relief could cause.

This certificate accompanies my motion for a temporary restraining order and/or
preliminary injunction against The Vanderbilt University, seeking immediate judicial
intervention to halt the enforcement of my expulsion pending a thorough and impartial
review of my case.

In accordance with the relevant federal rules and the practices of the U.S. District Court for
the Middle District of Tennessee, I understand the obligations and implications of seeking
ex parte relief and assert that this filing is made in good faith and not for the purpose of
undue advantage or to cause unnecessary harm or burden to the Respondent.

I further certify that a copy of this motion and accompanying documents will be served
upon the Respondent in a manner prescribed by law at the earliest possible time, consistent
with the Court’s directions and the exigencies of this situation.

Respectfully Submitted, on July 11, 2024
/S/ Ian H. Lucas Electronically Signed


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Respectfully Submitted

Dated this __11th__ day of ___July______, 2024.

/S/ Ian H. Lucas
Electronically Signed
Ian H. Lucas
Plaintiff Pro Se
221 Charleston Avenue
Pleasant View, TN, 37216-5500
Phone: 910-872-3577
Email: lucasianhunter@outlook.com




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                                       CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2024, a true and correct copy of the foregoing document was filed
electronically with the Clerk of Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.



Respectfully Submitted
Dated this 11th day of July 2024.

S/ Ian H. Lucas
Electronically Signed
Ian H. Lucas
Plaintiff Pro Se
221 Charleston Avenue
Pleasant View, TN, 37216-5500
Phone: 910-872-3577
Email: lucasianhunter@outlook.com




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